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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------x
                                                      :
In re                                                 :      Chapter 11
                                                      :
INSYS THERAPEUTICS, INC., et al.,                     :      Case No. 19-11292 (KG)
                                                      :
                  Debtors.1                           :      Jointly Administered
                                                      :
                                                      :      Re: D.I. 32, 56 & 210
------------------------------------------------------x

                          NOTICE OF EXTENSION OF BID DEADLINE

                   PLEASE TAKE NOTICE that, on July 2, 2019, the United States Bankruptcy

Court for the District of Delaware entered the Order (A) Approving Bidding Procedures for Sale

of Debtors’ Assets, (B) Scheduling Auction for and Hearing to Approve Sale of Debtors’ Assets,

(C) Approving Form and Manner of Notice of Sale, Auction, and Sale Hearing, (D) Approving

Assumption and Assignment Procedures, and (E) Granting Related Relief [D.I. 210] (the

“Bidding Procedures Order”),2 which, among other things, established certain dates and

deadlines in connection with the sale of the Assets, including July 23, 2019 at 4:00 p.m.

(prevailing Eastern Time) as the Bid Deadline and July 25, 2019 at 4:00 p.m. (prevailing Eastern

Time) as the deadline for the Debtors to notify Prospective Bidders of their status as Qualified

Bidders.

                   PLEASE TAKE FURTHER NOTICE that, pursuant to paragraph 4 of the

Bidding Procedures Order, the Debtors, in consultation with the Committee, have the right to


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Insys Therapeutics, Inc. (7886); IC Operations, LLC (9659); Insys Development
Company, Inc. (3020); Insys Manufacturing, LLC (0789); Insys Pharma, Inc. (9410); IPSC, LLC (6577); and IPT
355, LLC (0155). The Debtors’ mailing address is 410 S. Benson Lane, Chandler, Arizona 85224.
2
 Capitalized terms used but not defined herein shall have the respective meanings ascribed to them in the Bidding
Procedures Order.



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extend the Bid Deadline for any reason whatsoever, in their reasonable business judgment, for all

or certain parties.

                   PLEASE TAKE FURTHER NOTICE that the Bid Deadline has been extended

for all parties through and including July 26, 2019 at 4:00 p.m. (prevailing Eastern Time).

Consistent with the Bidding Procedures, the Debtors, in consultation with the Committee, will

use commercially reasonable efforts to notify Prospective Bidders whether their bids have

qualified as Qualified Bids by July 31, 2019.

                   PLEASE TAKE FURTHER NOTICE that, notwithstanding the Debtors’

extension of the Bid Deadline to July 26, 2019, the Auction will take place as scheduled in the

Bidding Procedures Order on August 5, 2019 at 10:00 a.m. (prevailing Eastern Time), at the

offices of Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153.

                   PLEASE TAKE FURTHER NOTICE that all other dates and deadlines

established pursuant to the Bidding Procedures Order and the Bidding Procedures remain

unchanged. The Debtors reserve the right to further extend the Bid Deadline and all other dates

and deadlines set forth in the Bidding Procedures Order and the Bidding Procedures in

accordance with the Bidding Procedures Order and the Bidding Procedures.




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Dated: July 22, 2019
       Wilmington, Delaware
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